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 Aaron D. Aftergood (SBN 239853)
 aaron@aftergoodesq.com
 1880 Century Park East, Suite 200
 Los Angeles, CA 90067
 T: 310-551-5221
 F: 310-496-2840
                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
 Richard Nakai, et al.,                                                 CASE NUMBER

                             v.                          Plaintiff(s)               Click here to enter the case number.

 Charter Communications, Inc. d/b/a Spectrum                             (PROPOSED) ORDER ON APPLICATION OF
                                                                         NON-RESIDENT ATTORNEY TO APPEAR IN
                                                      Defendant(s).          A SPECIFIC CASE PRO HAC VICE
The Court, having determined whether the required fee has been paid, and having reviewed the Application of
Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by
 Woodrow, Steven L.                                                               of        Woodrow & Peluso, LLC
 Applicant’s Name (Last Name, First Name & Middle Initial                                   3900 E Mexico Ave., Suite 300
 720-213-0675                            303-927-0809                                       Denver, Colorado 80210
 Telephone Number                        Fax Number
 swoodrow@woodrowpeluso.com
                             E-Mail Address                                                 Firm/Agency Name & Address
for permission to appear and participate in this case on behalf of
 Plaintiff Richard Nakai


 Name(s) of Party(ies) Represent                                 ☐ Plaintiff(s) ☐ Defendant(s) ☐ Other:
and designating as Local Counsel
 Aftergood, Aaron D.                                                                   of    The Aftergood Law Firm
 Designee’s Name (Last Name, First Name & Middle Initial                                     1880 Century Park East, Suite 200
 239853                           310-551-5221                   310-496-2840                Los Angeles, CA 90067
 Designee’s Cal. Bar No.          Telephone Number                Fax Number
 aaron@aftergoodesq.com
                              E-Mail Address                                                 Firm/Agency Name & Address
HEREBY ORDERS THAT the Application be:
 ☐GRANTED
 ☐DENIED:             ☐   for failure to pay the required fee.
                      ☐   for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.
                      ☐   for failure to complete Application:
                      ☐   pursuant to L.R. 83-2.1.3.2: ☐Applicant resides in California; ☐ previous Applications listed indicate Applicant
                          is regularly employed or engaged in business, professional, or other similar activities in California.
                      ☐   pursuant to L.R. 83-2.1.3.4; Local Counsel: ☐ is not member of Bar of this Court; ☐ does not maintain office
                          District.
                      ☐ because
IT IS HEREBY FURTHER ORDERED THAT the Application fee, if paid: ☐ be refunded ☐ not be refunded.

Dated: Click here to enter a date.
                                                                               U.S. District Judge/U.S. Magistrate Judge

 G-64 Order (05/16)    (PROPOSED) ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE              Page 1 of 1
